                  UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      Case No. 20-CV-954-WO-JLW

FARHAD AZIMA,

       Plaintiff,
                                           PLAINTIFF’S OPPOSITION TO
       v.                                   DEFENDANTS’ MOTION TO
                                              COMPEL PLAINTIFF TO
NICHOLAS DEL ROSSO and VITAL                IDENTIFY TRADE SECRETS
MANAGEMENT SERVICES, INC.,

       Defendants.


      The complaints from Defendants Nicholas Del Rosso and Vital

Management Services, Inc. (“Defendants”) about the adequacy of Plaintiff’s

Responses and Objections to Defendants’ First Set of Interrogatories (the

“Responses” and “Interrogatories,” respectively) are a transparent attempt to

retaliate against Plaintiff for raising Defendants’ own discovery failures, which

the Court ordered Defendants to remedy in its July 25, 2023, Order (the “Order”).

See ECF No. 248. Defendants have delayed and obstructed this case since the

outset of discovery by filing motions about essentially every request from

Plaintiff, while refusing to respond substantively to Plaintiff’s interrogatories or

produce any documents from their own files until compelled by the Court. See

ECF Nos. 97-98, 142-43, 157, 193. Defendants ground discovery to a standstill

for months. Then, after the Court issued its Order overruling essentially all of

Defendants’ objections and requiring them to produce discovery forthwith, they




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immediately rushed to Court to file this motion to compel, while at the same time

continuing to stonewall and thumb their nose at the Court’s Order through a

baseless motion for “clarification.” ECF Nos. 276-77.

        Defendants filed this motion to compel even though Plaintiff’s Responses

made clear that they would be supplemented after the Court ruled on

Defendants’ plethora of outstanding discovery motions.1 In the introduction to

Plaintiff’s Responses, which were served prior to the Order, Plaintiff explained

that:

        There are now fourteen (14) discovery motions pending before the
        Court . . . [.]   Before these Interrogatories were even served,
        Defendants requested a stay of all discovery. See ECF No. 205.
        Plaintiff objects to Defendants attempts to engage solely in one-sided
        discovery in this matter, refusing to provide any information while
        expecting Plaintiff to participate fully in discovery. Given the
        pending discovery motions and Defendants’ obstruction, these
        Interrogatories are premature and inappropriate. Plaintiff responds
        below, but will supplement these responses at a later date pursuant to
        Federal Rule of Civil Procedure 26(e) once discovery has advanced.

See ECF No. 269-6 at 1-2 (emphasis added). Rather than reach out to Plaintiff

after the Order was issued to see if he was, indeed, planning to supplement his

Responses as he indicated he would, Defendants rushed to court. Defendants’

almost seven-page background describing the dispute notably ends on June 23,



        1 In contrast with Defendants, Plaintiff has made every effort to complete

discovery in this case in accordance with the Court’s schedule, in part by
voluntarily producing more than 350,000 documents, including hundreds of
documents that were produced before Defendants even made a request.
Plaintiff’s Responses to the Interrogatories are no different.

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more than a month before the Order was issued and about two months before

Defendants filed the instant Motion to Compel.

         The result is a waste of the Court’s time and resources.2 As he said he

would, Plaintiff is in the process of supplementing his Responses to provide the

information that Defendants now seek to compel, and he intends to provide this

information to Defendants on or before September 13, 2023.

                                     ARGUMENT

   I.       Plaintiff Has Agreed to Voluntarily Expedite Identification of
            His Trade Secrets.

         Under North Carolina law, “a plaintiff must identify a trade secret with

sufficient particularity,” Analog Devices, Inc. v. Michalski, 579 S.E.2d 449, 453

(N.C. Ct. App. 2003), but there is no hard and fast rule on when a plaintiff making

claims under the North Carolina Trade Secret Protection Act (“NCTSPA”) must

identify his trade secrets. It is, instead, a fact specific inquiry that requires a

case-by-case analysis.      Indeed, the very first case Defendants cite in their

submission to the Court emphasizes that “[t]he Court must strike a balance in . . .

determining the appropriate discovery and the appropriate sequence of discovery



         2 To be clear, Plaintiff is not advocating that the Court find that Defendants

have committed a technical violation of the meet and confer requirement. But
given that Plaintiff’s objections were predicated on the need to resolve the
outstanding discovery disputes, it goes against the spirit (if not the letter) of the
meet and confer requirement to file a motion without first consulting with
Plaintiff about whether he intended to supplement his Responses in light of the
Order.

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where misappropriation of trade secrets has been alleged.” DSM Dyneema, LLC

v. Thagard, No. 13 CVS 1686, 2014 WL 5317770, at *6 (N.C. Super. Ct. Oct. 17,

2014) (discussing the various considerations courts should consider and

determining “in the context of the facts [t]here” that an earlier identification of

trade secrets was appropriate).

      To that end, the Court in Thagard correctly emphasized that “[m]ost North

Carolina cases assessing whether a plaintiff has identified its misappropriated

trade secrets with ‘sufficient particularity’ have been decided as a matter of

proper pleading at the motion to dismiss stage of the litigation . . . [and then]

after the completion of discovery on a motion for summary judgment.”             Id.

(collecting cases).3 Here, the trade secrets identified in Plaintiff’s Complaint

have already been sustained following multiple rounds of motion to dismiss

briefing in which the Court considered Plaintiff’s allegations and concluded that

he “plausibly pled his ownership of trade secrets.” See ECF No. 54 at 24 (Order

and Recommendation analyzing Plaintiff’s alleged trade secrets); see also ECF

Nos. 65, 79, 80. Following requests for production, Plaintiff produced documents


      3 The Court in Thagard noted that federal courts have held that a plaintiff

alleging misappropriation must identify its trade secrets “before it is allowed to
obtain discovery of a defendant's confidential information and trade secrets.”
2014 WL 5317770, at *4 (emphasis added). While true, this is not relevant here—
(1) Plaintiff is not seeking Defendants’ trade secrets; (2) this is a diversity case,
and the Court should be applying North Carolina standards; and (3) even if
federal standards applied, Defendants’ argument still fails as explained below.
See infra at 6-7.

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that Defendants are alleged to have posted on WeTransfer, which includes

thousands of trade secrets. Plaintiff also has made supplemental productions

that included trade secrets. Defendants complain solely that Plaintiff has not

provided a list of which documents respond to which requests for production. As

Plaintiff indicated in his Responses, Plaintiff is reviewing hundreds of thousands

of documents that were stolen from him and intends to identify his trade secrets

with specificity by the end of fact discovery. Even though it is not required under

the Rules or case law, Plaintiff has agreed to expedite his responses by September

13th in the spirit of moving discovery forward.

      Defendants rejected this approach. They instead argue that Plaintiff

should have provided an even clearer identification of his trade secrets prior to

taking discovery from Defendants. See, e.g., ECF No. 270 at 10, 16. Defendants’

arguments are without merits. Courts often require plaintiffs to provide an early

identification of trade secrets to ensure that the plaintiffs “‘are not on a fishing

expedition and so that courts and defendants can discern the relevancy of the

plaintiffs’ discovery requests.’” Thagard, 2014 WL 5317770, at *4 (cleaned up).

Early identification is also helpful to allow defendants to understand the claims

against them so they can conduct appropriate discovery. See, e.g., Computer

Design & Integration, LLC v. Brown, No. 16 CVS 11847, 2018 WL 6609014, at

*12 (N.C. Super. Ct. Dec. 10, 2018) (“[T]he NCTSPA requires a plaintiff to

identify a trade secret with sufficient particularity so as to enable a defendant to

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delineate that which he is accused of misappropriating and a court to determine

whether misappropriation has or is threatened to occur.”) (cleaned up).

        But these principles do not apply here. There is no question about whether

Plaintiff’s trade secrets were published; even Defendants agree that huge

numbers of documents were published on WeTransfer. Defendants argue that

they need Plaintiff to provide this information about his trade secrets, otherwise

“they cannot conduct any meaningful discovery.” ECF No. 270 at 18. But the

identification Plaintiff has already made was sufficient to allow Defendants to

serve the Interrogatories along with more than 75 RFPs, some of which

specifically target Plaintiff’s alleged trade secrets. See, e.g., ECF No. 269-1 at 4

(RFP #1) (requesting “documents which you contend constitute ‘confidential

internal pricing lists relating to food transport for U.S. troops in Afghanistan,’ as

alleged in paragraph 18 of the Complaint”). Defendants know that Plaintiff’s

discovery requests are relevant (this Court has told them as much) and have

enough information to serve dozens-upon-dozens of targeted discovery requests.

Defendants have all the information they need at this stage, and Plaintiff is in

the process of supplementing his Responses to provide more detailed answers to

Defendants’ Interrogatories in accordance with the discovery deadlines in this

case.




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   II.     Plaintiff Has Fully Responded to Defendants’ Requests for
           Production.

         Defendants also argue that Plaintiff failed to respond fully to Defendants

RFP Nos. 16-18, which seeks “all documents that You, Your Attorneys, or Your

Agents downloaded from the WeTransfer links which you contend were

modified.”4 Plaintiff has already satisfied his obligation to produce responsive

documents within his possession, custody, and control. Defendants’ RFPs only

request “documents . . . downloaded from the WeTransfer links” posted in 2018

and 2019, which is exactly what Plaintiff already provided. Notably, Defendants

do not contend otherwise. Instead, Defendants appear to be seeking a duplicative

archive of the same data in the hope that it will tell them something different

from the data Plaintiff has already produced. It will not. Yet Defendants do not

intend to wait for the Court to resolve this dispute.          They have already

subpoenaed others to seek the same information sought here.             See Ex. A

(subpoena to Mr. Tarbell); Ex. B (subpoena to BRG).




         4 While Defendants argue that a report authored by Christopher Tarbell

demonstrates that Plaintiff’s Complaint was false, see ECF No. 270 at 19-22,
Defendants drastically misrepresent the content of that report. The Complaint
alleges that the blog sites making Plaintiff’s data accessible were modified in
2018 to publish the WeTransfer links containing Plaintiff’s stolen data. ECF No.
1 ¶¶ 24, 53, 93, 98. Nothing in Tarbell’s report indicates otherwise. See ECF No.
269-10 ¶¶ 115-17. Defendants’ argument about the Tarbell report following the
Court’s recent Order that risks exposing their illicit conduct is a transparent
attempt to shift the focus to literally any other issue in this case.

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                               CONCLUSION

     For the foregoing reasons, Plaintiff respectfully requests that the Court

deny Defendants’ Motion to Compel.

     Respectfully submitted on this, the 30th day of August, 2023.

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                     CERTIFICATE OF WORD COUNT
      The undersigned certifies compliance with Local Rule 7.3(d) regarding

length limitations. This memorandum contains fewer than 6,250 words. The

undersigned has relied on the word count feature of Microsoft Word 365 in

making this certification.



                                         /s/ Ripley Rand
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                       CERTIFICATE OF SERVICE

      I hereby certify that on this 30th day of August, 2023, I caused true and

correct copies of the foregoing to be served via CM/ECF on the following:

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